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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

COLE’S WEXFORD HOTEL, INC.,
on its own behalf and on behalf of all

others similarly situated, Case No. 2:10-cv-01609-JFC

Plaintiffs, Judge Joy Flowers Conti

Vv.

UPMC and
HIGHMARK INC.,

Defendants.

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AND NOW, this day of May, 2020, for the reasons set forth on the record at the May

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4, 2020, hearing and further, Stated in the Court’s Final Order Approving Class Action Settlement
(ECF No. 724), Plaintiff's and Highmark’s Motion for Final Approval of Settlement (ECF No.

711) is HEREBY GRANTED;

IT IS FURTHER ORDERED that this is a final judgment as to Highmark Inc. on all claims

for purposes of Federal Rule of Civil Procedure 58(a); and

IT IS FURTHER ORDERED that the Court retains continuing jurisdiction as to all matters

relating to the Settlement without affecting the finality of this Judgment.

IT IS SO ORDERED.

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jovi Flowé S Conti
United States District Court Judge
